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                                                                                                      By: Mercedes Ramey
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                                    CAUSE NO: 2019-11563

CRYSTAL SERRANO                                   §             IN THE DISTRICT COURT OF
                                                  §
VS.                                               §                 HARRIS COUNTY, TEXAS
                                                  §
OCEAN HARBOR CASUALTY                             §




                                                                                   k
INSURANCE COMPANY                                 §               165TH JUDICIAL DISTRICT




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        DEFENDANT, OCEAN HARBOR CASUALTY INSURANCE COMPANY’S




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          ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION AND




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                       REQUEST FOR DISCLOSURE




                                                                    ist
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TO THE HONORABLE JUDGE OF SAID COURT:




                                                            es
        COMES NOW, Ocean Harbor Casualty Insurance Company (“Ocean Harbor,”),



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Defendant in the above-entitled and numbered cause and files this, its Answer to Plaintiff’s
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Original Petition and would respectfully show unto the Court the following:
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        Ocean Harbor asserts a general denial as is authorized by Rule 92 of the Texas Rules of
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Civil Procedure, and requests that Plaintiff be required to prove her charges and allegations
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against Ocean Harbor by a preponderance of the evidence as is required by the Constitution and
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law of the State of Texas.
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                                                II.
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                                  AFFIRMATIVE DEFENSES
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        1.     Ocean Harbor denies that the required conditions precedent were performed
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and/or occurred.
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        2.     If any of Plaintiff’s damages are determined to be the result of a failure by

Plaintiff to take reasonable steps to mitigate the loss, those damages are not recoverable.




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       3.       The damages allegedly sustained by Plaintiff may have been the result of actions

or omissions of individuals over whom Ocean Harbor had no control, including but not limited to

Plaintiff, therefore, Ocean Harbor is not liable to Plaintiff.

       4.       Ocean Harbor issued Policy no. SWM-301435-05 to Crystal Serrano for the




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premises located at 6706 Trail Loop W, Rosharon, Texas 77583. (the “Policy”). Ocean Harbor




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refers to the Policy and adopts its terms, conditions and exclusions as if copied in extenso.




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       5.       The Policy excludes coverage for “loss caused by, resulting from, contributing to




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or aggravated by flood water, surface water, waves, tidal water or overflow of a body of water or




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spray from any of these whether or not driven by wind; or water sewage which backs up through



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sewers or drains or which overflows from a sump; or water below the surface of the ground. This
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includes water which exerts pressure on or flows, seeps or leaks through any part of your
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dwelling or other structure, foundation, sidewalk, driveway or swimming pool.”
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       6.       The Policy extends coverage to the property described above that occurs “during
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the policy period and when such loss or damage is caused directly, suddenly and accidentally by
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any peril except collision,” and excludes coverages for “damage resulting only from leakage of
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rain, sleet or snow,” which “shall not be deemed direct and accidental and is not intended to be
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covered.”
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       7.       Ocean Harbor is entitled to any credits or set-offs for prior payments by Ocean
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Harbor or other third parties.
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       8.       To the extent that some or all of Plaintiff’s claims may have been fully adjusted
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and payment tendered, Plaintiff is only entitled to one satisfaction or recovery for her alleged

damages.




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          9.     Plaintiff’s extra-contractual claims alleging bad faith fail because a bona fide

controversy existed and continues to exist concerning Plaintiff’s entitlement, if any, to insurance

benefits.

          10.    Plaintiff’s extra-contractual claims alleging bad faith fail because a finding of the




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existence of coverage for Plaintiff’s underlying insurance claim is necessary to establish any




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basis for Plaintiff’s extra-contractual Insurance Code claims. Because Plaintiff’s allegations are




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generally based on Defendant’s alleged failure to investigate the clam and pay policy benefits,




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the existence of any applicable exclusions precludes Plaintiff’s extra-contractual, Insurance Code




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claims.



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                                                 III.
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                                 REQUEST FOR DISCLOSURE
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          Pursuant to Rule 194, Plaintiff is requested to disclose the information or material
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described in Rule 194.
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                                      PRAYER FOR RELIEF
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          WHEREFORE, PREMISES CONSIDERED, Defendant, Ocean Harbor Casualty
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Insurance Company, respectfully prays that Plaintiff take nothing by her suit, that Defendant
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recovers costs, and for such other and further relief, both at law and in equity, to which Ocean
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Harbor may be justly entitled.
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                                            Respectfully Submitted,

                                            LEWIS BRISBOIS BISGAARD & SMITH LLP




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                                            By: /s/ Sarah R. Smith




                                                                           l er
                                               Sarah R. Smith
                                               Texas State Bar No. 24056346




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                                               Sarah C. Plaisance




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                                                                      ric
                                               Texas State Bar No. 24102361
                                               24 Greenway Plaza, Suite 1400




                                                                 ist
                                               Houston, Texas 77046




                                                            sD
                                               Telephone: 713.659.6767
                                               Facsimile: 713.759.6830




                                                         es
                                               sarah.smith@lewisbrisbois.com
                                               sarah.plaisance@lewisbrisbois.com


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                                                 ATTORNEYS FOR DEFENDANT,
                                                 OCEAN HARBOR CASUALTY INSURANCE
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                                                 COMPANY
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                                CERTIFICATE OF SERVICE
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       This is to certify that a true and correct copy of the above pleading has been forwarded
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pursuant to the Texas Rules of Civil Procedure on this 18 day of March, 2019.
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Anthony G. Buzbee
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Christopher J. Leavitt              Via Eserve
                ial




THE BUZBEE LAW FIRM
             ffic




600 Travis Street, Suite 7300
Houston, Texas 77002
          o




tbuzbee@txattorneys.com
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cleavitt@txattorneys.com
www.txattorneys.com
Attorneys for Plaintiff


                                                    /s/ Sarah R. Smith
                                                   Sarah R. Smith


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